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   EXHIBIT                                             E
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      Declarant                  Category         Paragraph Citation     Evidence
ECF 10-29, A.S.H   Retaliation                                         5 "After speaking with counsel and reporting this abuse, I experienced retaliation
                                                                         including being put in solitary confinement in the SHU. I began speaking with
                                                                         counsel on March 8, 2023 and my claim was filed on March 24, 3023. After I
                                                                         spoke with my lawyer on March 10, 2023, officers searched my room for no
                                                                         reason, and then I was sent to the SHU on March 13, 2023, as punishment for
                                                                         “wearing green pants” even though others transferred from the camp have been
                                                                         permitted to wear green clothing without punishment. I was punished with 30 days
                                                                         in the SHU and fined $120.70 and lost 41 days of credits."
ECF 10-29, A.S.H   Lawyer acess                                        5 "While in the SHU I could not use the phone or CorrLinks, including to contact my
                                                                         lawyer." (March 2023)
ECF 10-29, A.S.H   Retaliation                                         6 "Since I began speaking to counsel [March 2023], officers, especially Officer
                                                                         Solorio, have been hitting my room repeatedly and consistently. I know that the
                                                                         officers know I have been speaking to counsel because they look nervous when
                                                                         they see me and before I started talking to an attorney, they had never searched
                                                                         my room so frequently. My understanding is that room searches are supposed to
                                                                         be randomized and logged, but officers hit my room twice in the week after I
                                                                         spoke with my lawyer. I believe that the officers have not been logging the
                                                                         searches because they do not want others to know. I constantly worry that my
                                                                         belongings could be taken by officers, or I will be put back in the SHU or otherwise
                                                                         targeted again. Because of the abuse and retaliation, I stay in my room as much
                                                                         as possible, and avoid leaving the room to work out or go to rec like I used to."

ECF 10-29, A.S.H   Mental health                                       7 "I have tried to get an appointment with a psychologist, but I have never been able
                                                                         to. I was informed that Tri-Valley Care was an option but was told it was only for
                                                                         PREA reporting and not for ongoing care."
ECF 10-29, A.S.H   Medical care                                        8 "I believe I may have contracted a sexually transmitted disease, herpes, from
                                                                         Officer Nunley [assaults happened 2020, 2021] but I have not been able to obtain
                                                                         any medical care for it. When I have sought medical care, they say come back if
                                                                         you have an outbreak, and they just told me to take ibuprofen and drink more
                                                                         water. When I have experienced painful outbreaks, I go back to medical, but they
                                                                         tell me that because they don’t have any female doctors, I have to come back
                                                                         another time, and by then the outbreak subsides. I am worried that I will pass the
                                                                         virus to others because of being unable to get a diagnosis or treatment. I also
                                                                         have eczema, but medical gives me the wrong medication for it, leaving me in
                                                                         discomfort. Diabetes also runs in my family, and I have reason to believe that I
                                                                         have it, but I have been unable to get any screening or care. I am very worried
                                                                         that FCI Dublin’s lack of medical care is worsening my health and allowing
                                                                         otherwise manageable conditions to persist and potentially endanger me."
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ECF 10-24, A.T.   Sexual assault                             4-5 Was sexually harrassed by Officer Cooper between Septemeber 23, 2022 and
                                                                 October 9, 2022. He entered where she was showering and hit the curtain so it
                                                                 was open and she was exposed. When she went to room to change he followed
                                                                 her, and when she told him she was changing he stayed and asked about her
                                                                 bunkie. "It was incredibly degrading to be treated this way and watched while I
                                                                 was naked and changing."
ECF 10-24, A.T.   Reporting                                    7 "Staff will falsify records and put whatever dates they want on them. I know
                                                                 because I have received copies of my records with dates that did not make any
                                                                 sense. I submitted a grievance once and staff did not give me the response until
                                                                 several months after my deadline to appeal it."
ECF 10-24, A.T.   Retaliation                                  7 "Ever since officers started getting walked off it has been non-stop retaliation. I
                                                                 have never faced anything like this."
ECF 10-24, A.T.   Mental health/tri valley                     8 "I have anxiety, depression, and OCD. Staff took me off my medications cold
                                                                 turkey and I asked to see a psychiatrist and am still waiting a
                                                                 year later. They do not do anything to help us."
ECF 10-20, B.S.   Sexual assault                               6 "In the summer of 2022, another friend told me that Officer Glaser grabbed her
                                                                 and rubbed his crotch against her back."
ECF 10-20, B.S.   Retaliation                                  6 "She reported Officer Glaser and was transferred to another facility." [Summer
                                                                 2022]
ECF 10-20, B.S.   Reporting                                    7 Was locked in a closet by Officer O'Connor. "I reported this incident to SIS
                                                                 Putnam, but was never provided any documentation of my report, and no one in
                                                                 SIS ever followed up with me about it."
ECF 10-20, B.S.   Reporting                                    8 "Since many officers were walked off and arrested in 2021, the only changes
                                                                 we’ve seen are new signs with phone numbers that you can call."
ECF 10-20, B.S.   Reporting                                    9 "We’ve been told that we can report sexual abuse to SIS or other FCI Dublin staff,
                                                                 but I do not trust SIS or the people who work in this prison. I know many people
                                                                 who have reported staff misconduct to SIS over the years, and nothing was done,
                                                                 and the reports did not remain confidential. After I was called in for an interview
                                                                 with SIS in the spring of 2022, women in my dorm started bullying me. One told
                                                                 me she heard that I 'snitched to Putnam.”'
ECF 10-20, B.S.   Access to                                    9 "We can’t use the regular phone lines or email or mail, because staff monitor them
                  Phone/Mail/Lawyer/Visits                       all."
ECF 10-20, B.S.   Medical care                                 9 "I also don’t trust the medical staff because I know women who were sexually
                                                                 abused by medical staff, and I don’t trust the chaplains because the former
                                                                 chaplain also raped incarcerated women."
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ECF 10-20, B.S.   Retaliation                                 10 "I recently asked for a legal call and my counselor told me: 'You trying to report
                                                                 me, huh?' When we do get legal visits, they are held in the large visitation room
                                                                 with staff present, and without any privacy. During a legal visit on March 23, 2023,
                                                                 staff told us that they were going to strip search us before and after we spoke with
                                                                 the lawyers. I have never heard of staff strip searching anyone before or after
                                                                 legal visits during my entire time at FCI Dublin. Staff began strip searching some
                                                                 women going into the visit, but the lawyers asked to speak with a supervisor, and
                                                                 staff stopped the searches.Staff did strip search all of us after the visit."

ECF 10-20, B.S.   Retaliation                                 11 "I know multiple women who were put in the SHU for months after they reported
                                                                 sexual assault by staff. A close friend of mine reported staff sexual harassment,
                                                                 and Officers Ramos and Saucedo made her life a living hell by screaming at her,
                                                                 searching her cell, and humiliating her every chance they got. She came to my
                                                                 room crying multiple times because the constant retaliation was so unbearable."
ECF 10-20, B.S.   Retaliation                                 12 "Retaliation has only gotten worse since the warden and other officers were
                                                                 arrested in 2021. Staff treat us like we are the problem. They call us snitches and
                                                                 tell us that it’s our fault that their coworkers got in trouble. A unit manager recently
                                                                 told me:'You can report me all you want. I’ll be here until the day you get out, you’ll
                                                                 never get rid of me.' A new staff person, Lt. Jones, has made it a point to degrade
                                                                 and humiliate us. Around January 2023, I saw Jones force a group of women who
                                                                 work in the kitchen to stand outside in the rain for over thirty minutes. Many of
                                                                 them didn’t have shoes on, and she forced them to put their belongings and food
                                                                 on the ground. She yelled at them: 'This is my prison, you’ll do what I want.'

ECF 10-20, B.S.   Retaliation                                 13 "My friend A , who was released from FCI Dublin and deported in December 2022,
                                                                 was sexually abused by staff and witnessed sexual abuse by multiple staff. She
                                                                 reported her experiences to SIS and federal investigators, and staff were terrible
                                                                 to her for months. Two other people I know were sexually abused by staff in 2022
                                                                 and reported their abuse in early 2023. Since they reported, staff have harassed
                                                                 them nonstop. I see staff yell at them and search their cells constantly. One officer
                                                                 told me that she knew that those two individuals had reported to SIS, which
                                                                 seemed very inappropriate to me"
ECF 10-20, B.S.   Mental health                               14 "The psychology unit at FCI Dublin is extremely under staffed and it’s hard to get
                                                                 appointments. FCI Dublin recently started working with Tri-Valley to offer
                                                                 counseling, but only a handful of women have gotten appointments, and they only
                                                                 get five, thirty-minute sessions, and the sessions are not with real clinicians."
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ECF 10-20, B.S.   Medical care                                15 "There is little to no medical care available to survivors of sexual abuse and
                                                                 assault at FCI Dublin. It truly feels like no one is caring for us here - it’s only the
                                                                 incarcerated people who take care of each other. It takes weeks or months to get
                                                                 a medical appointment, if you get one at all. My friend who was sexually assaulted
                                                                 by Officer Chavez and experienced extreme medical neglect. She had an
                                                                 emergency surgery and was left alone in an isolation cell for two weeks without
                                                                 care. I’ve also experienced medical neglect many times. In September of 2022 the
                                                                 whole left side of my body went numb, and I repeatedly asked to see medical and
                                                                 eventually had to be taken offsite to the emergency room. The doctors at the
                                                                 hospital prescribed me an anti-seizure medication, but when I returned to Dublin
                                                                 the medical staff refused to give me the medication, and I didn’t have access to
                                                                 treatment for weeks. I’ve repeatedly asked for my medical records, and staff
                                                                 refused to give me a copy for a year. I truly do not feel safe here."

ECF 10-26, C.D.   Sexual assault                               7 "Even newer staff members have engaged in sexual misconduct. In the last year,
                                                                 multiple officers have been walked off for sexually abusing incarcerated people.
                                                                 For example, Lt. Jones was recently walked off. Before she was walked Lt. Jones
                                                                 made us take off our outer clothes and stand barefoot on the concrete in the
                                                                 middle of the compound while she searched us in front of male officers. I also saw
                                                                 her search women in front of male officers, which staff are not supposed to do."

ECF 10-26, C.D.   Reporting                                    8 "It’s also very difficult to file written grievances against staff people. No one
                                                                 explains to us how to file a grievance, and oftentimes the forms are not available
                                                                 in the units. Also, we have been on COVID-19 lockdown for long periods of time
                                                                 during the past few years, which has made reporting very difficult. I did not feel
                                                                 comfortable submitted a grievance until after I spoke to an attorney and even then
                                                                 I was only comfortable sending it to the regional office, not to the institution
                                                                 directly. I submitted one to the regional office several months ago but still have not
                                                                 received a response."
ECF 10-26, C.D.   Access to                                    8 "We can’t tell our family and friends because all of our regular communications,
                  Phone/Mail/Lawyer/Visits                       like calls and email and post mail, are monitored by staff. Incoming and outgoing
                                                                 mail also take a very long time."
ECF 10-26, C.D.   Retaliation                                  9 I am still afraid to submit a grievance directly to the facility. Officers say, 'you think
                                                                 we don’t see you reporting on us—we see everything.' If you report a staff person,
                                                                 the rest of the staff look at you and treat you differently. They search your room
                                                                 and make your life as difficult as possible. After the Warden was walked off, staff
                                                                 were mad and started punishing us. They yelled at us and searched our cells and
                                                                 our lockers all the time and made a mess of our things for no reason.Just by
                                                                 writing this declaration I am afraid that BOP will send me to the SHU or ship me
                                                                 away to another facility."
ECF 10-26, C.D.   Reporting                                   10 "I once spoke to Lt. Putnam about the staff abuse that I witnessed. I gave him my
                                                                 notes and he scanned my notes, but there was never any follow-up."
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ECF 10-26, C.D.    Mental health                             11 "After I witnessed staff abusing people I was struggling mentally. I asked for
                                                                psychological support, but never got anything back from that. I don’t want to see
                                                                my unit psychologist because I am afraid they will tell staff what I tell them
                                                                because they are all friends."
ECF 10-26, C.D.    Medical care                              12 "For several months there was no medical doctor at the facility. I witnessed a
                                                                woman rely on other incarcerated people to help her shower and perform tasks
                                                                after a surgery. There was no staff support. I have seen a woman have multiple
                                                                seizures following fire alarms, and there is not a fast response. Whenever people
                                                                go to medical, they are not seen. I had a bruise after falling off my bunk I was very
                                                                concerned about, and I went to medical only to be turned away. After getting
                                                                COVID, I had no taste or smell for a year, but I was unable to get help."
ECF 10-26, C.D.    Cameras                                   13 "There are some cameras installed in fixed locations in the facility, but it is well
                                                                known that there are no cameras in other areas and there is no way to tell if the
                                                                cameras are working, where they are pointing, or whether they are being
                                                                monitored"
ECF 10-8, C.F.B.   Staffing changes                           7 "I also witnessed sexual abuse by Officer Smith on the housing units. He formerly
                                                                was a counselor, but he was demoted due to allegations of sexual misconduct
                                                                and became an officer. I worked with his wife in Food Service while that demotion
                                                                was ongoing, so I knew the details. She told me that FCI Dublin had screwed up
                                                                the investigation, and that the union protected him. She later transferred to work in
                                                                a different BOP facility".
ECF 10-8, C.F.B.   Reporting                                 10 "I only reported what I experienced and witnessed to SIS and FBI in March 2023.
                                                                It is very difficult to use the administrative remedy process to report as well – they
                                                                often do not have the BP-9, BP-10, or BP-11s. It is so bad that I’ve started
                                                                stockpiling them. Staff will ask you something like 'what is this in regards to?'
                                                                when you ask for a form and give you a hard time about it to get people not to
                                                                report things"
ECF 10-8, C.F.B.   Staffing changes                          11 "Officer Smith and Officer O’Connor are good examples of repeat offenders who
                                                                were allowed to keep their positions despite repeated reports. While Officer
                                                                O’Connor and Jones were on administrative leave, BOP was still accepting 'bids'
                                                                from them and other kitchen staff members who have been walked off pending
                                                                investigations— including Officer St. Clair and Officer Kinlaw. My understanding is
                                                                that Officer O’Connor was recently allowed to medically retire with full benefits."

ECF 10-8, C.F.B.   Mental health                             12 "I attempted suicide in March 2021. After that occurred, I was provided monthly
                                                                check ins with a psychiatrist. But in the past few weeks, I’ve been dropped. I am
                                                                asking for help, but I should not have to be scared."
ECF 10-8, C.F.B.   Medical care                              12 "In November or December 2022, my medication was taken away, and they tried
                                                                to take away my heart medication. Our medical records are all screwed up. I put in
                                                                a call out with no response."
ECF 10-8, C.F.B.   Cameras                                   14 "[T]here are still no cameras in the staff offices or in the refrigerator or freezer
                                                                where abuse previously occurred. Even if there are cameras, it is not clear that
                                                                anyone is watching the footage."
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ECF 10-5, G.M.   Reporting                                   14 "Just getting BP-9s to file is a great challenge. Mr. Villanueva, my counselor, didn’t
                                                                know where they were when I asked him and
                                                                wouldn’t give them to us. Other officers, like Mr. Craig, or Mr. Shirley, say to talk
                                                                to your unit team to get them, but we don’t have a unit team on F-side right now."
ECF 10-5, G.M.   Retaliation                                 15 "In July 2022, Officer Putnam called me into his office and asked if I had anything
                                                                to tell him. At that time, I filed a PREA complaint about Officer Nunley and Officer
                                                                Smith, but was not provided any copies. I gave them the letter of recommendation
                                                                that Officer Nunley wrote for me and my notebook. After my report about Officer
                                                                Nunley, an FBI officer spoke to me in August 2022. After these reports, I believe
                                                                my confidential legal mail has been opened in retaliation by SIS Ferguson and my
                                                                room was repeatedly searched."
ECF 10-5, G.M.   Retaliation                                 16 "Beginning in January 2023, Officer Shirley and Lt. Jones have been retaliating
                                                                against myself and other incarcerated people. Officer Shirley has asked if I was
                                                                'working for them' or 'reporting [him] to the FBI.' Lt. Jones states that she will
                                                                punish the whole unit when one person gets in trouble. Additionally, in January
                                                                2023, Officer Hendricks began to yell at me and everyone in my unit to not look at
                                                                what Lt. Jones was doing (a strip search of the kitchen staff outside). Officer
                                                                Hendricks was yelling at us to 'turn the fuck around' and 'don’t be mad when she
                                                                comes.'"
ECF 10-5, G.M.   Mental health                               18 "There is very a staffing shortage in general. On my Unit Team, there are no
                                                                Counselors, and my new Unit Manager refuses to talk to any of us due to fears of
                                                                having a PREA report done against him. I sought out mental health help, but all
                                                                they tell me to do is breathing exercises and give me packets. After several
                                                                months, I am finally getting care from TriValley Care but it is not enough. I am
                                                                angry, sad, and depressed and feel that there is no one I can talk to."
ECF 10-5, G.M.   Mental health                               19 "Around December 2022, clinicians at FCI Dublin took me off my psychiatric
                                                                medications for three months for no apparent reason, causing me significant
                                                                suffering and harm due to the abrupt change in my medications."
ECF 10-5, G.M.   Medical care                                20 "Since February, I have been losing vision in my eye, and I was not able to see an
                                                                eye specialist for several months"..."When I go to sick call, they have no record of
                                                                my problems. Recently, when I asked Dr. Asadi to document our visit, he asked
                                                                me, 'what’s your motive?' They keep calling me out to draw blood but not having
                                                                the tubes to actually take it. Another clinician asked me if I was going to 'BP-9' him
                                                                when I asked about getting my medication."
ECF 10-4, J.M.   Medical care                                 4 "Later, on approximately July 29, 2022, Officer Wilson, acting as a Nurse came
                                                                into my cell and gave me a shot that knocked me out for several hours. I do not
                                                                know why he gave me the shot, and no one explained why I was given the shot in
                                                                my cell instead of in the medical offices. I do not know what happened when I was
                                                                unconscious, and the experience made me even more afraid to engage with seek
                                                                medical care at the facility due to fears I would be groped or otherwise drugged
                                                                and assaulted"
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ECF 10-4, J.M.   Sexual assault                               6 "On approximately February 5, 2022, Officer Poole asked two other incarcerated
                                                                women to stay behind and help him even though the kitchen was closed, and I
                                                                and all the other workers were leaving. Officer Poole was alone with the two
                                                                incarcerated women for close to an hour. I know this because I walked by the
                                                                building after 6 and saw one of the women, W , duck down to hide below the
                                                                window when she saw me. W later told me she was having a sexual relationship
                                                                with Officer Poole and the second woman, R , also later told me she was also
                                                                having a sexual relationship with Officer Poole. R was also having a sexual
                                                                relationship with Officer Jones. The following day, on approximately February 6,
                                                                2022, I saw Officer Jones with R in the office in the kitchen. I could see them
                                                                through the window and witnessed Officer Jones with his hands around R ’s neck,
                                                                appearing to choke her. I knew they were in a sexual relationship because I saw
                                                                Officer Jones give her special privileges, saw them go into the office alone, and
                                                                Officer Jones would get in R ’s face in front of everyone and told herto stop telling
                                                                people about their relationship."
ECF 10-4, J.M.   Reporting                                    7 "I have seen posters occasionally that have some PREA related information on
                                                                them but usually only when people are coming to tour the
                                                                facility. We have been provided with an 800 number we are supposed to be able
                                                                to call to report issues, but the prison phones won’t dial 800 numbers"
ECF 10-4, J.M.   Reporting                                    9 "The only methods I am aware of to report sexual assault and abuse by staff are
                                                                to tell staff, report to SIS, or to send an email to DOJ using the facilities
                                                                computers. While these messages are not supposed to be read by BOP staff the
                                                                computers in the facility do not have functioning privacy screens and are
                                                                positioned so that staff and other incarcerated persons can see what I am typing
                                                                and who I am sending it to. In the last few months BOP installed what they called
                                                                “privacy” screens on the computers, but they do not work. They only block people
                                                                from seeing the screen if they are sitting directly to the side of it, otherwise anyone
                                                                looking generally at the computers can still see what is being typed"

ECF 10-4, J.M.   Retaliation                                 12 "My worst fears came true and after I had a legal call with my counsel on October
                                                                24, 2022, about what is happening at Dublin, I was retaliated against and placed
                                                                in the SHU. Shortly after this meeting on October 30, SIS called me to their office
                                                                and claimed a stereo that I had been openly using for several months which I
                                                                found on-site must have been given to me by an officer. Officer Ferguson kept
                                                                asking me who I was sleeping with and treated me like I did something wrong. I
                                                                believe I was targeted due to what I discussed on my legal call only a few days
                                                                prior. I was placed in solitary confinement in the SHU from October 30 until
                                                                November 15, 2022. During this time, Iasked to call my lawyer but was not
                                                                allowed to do so to tell them what was happening."
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ECF 10-4, J.M.   Mental health                             15 "On January 20, 2023, I asked to speak to mental health and was told 'no' by
                                                              Officer Hendricks. Approximately 45 minutes later, I was able to walk over to the
                                                              mental health office. Once there, I saw a woman whose name starts with an 'M.'
                                                              Ms. M said she could not help me and was new to the facility. I was told to send a
                                                              message to 'reentry', and someone would respond. I did so but did not receive a
                                                              response to the email. Ms. Groover, the Unit Manager for Units A/B also often
                                                              comes over to my unit E/F and is very disrespectful to us and offers no help."
ECF 10-4, J.M.   Mental health                             16 "There are very few mental health workers at FCI Dublin. Dr. Hong left in early
                                                              January 2023 and Mr. Northerly told me that he was leaving in late January 2023
                                                              for Arizona. The psychiatrist, Dr. Mulcahey, is married to my Unit Manager Craig
                                                              and I am deeply concerned that anything I say to her will be conveyed to her
                                                              husband who runs my unit and cause further retaliation. I know they talk about us
                                                              because Dr. Mulcahey told me that Officer Craig locks himself in his office and
                                                              avoids us for his safety and our safety"
ECF 10-4, J.M.   Medical care                              17 "For a period of time there was no medical doctor at the facility and only recently
                                                              has there been a part-time doctor on-site. The prior doctors, physician assistants,
                                                              nurses and nurse practitioners have either been walked off, fired, forced to resign,
                                                              or simply placed in other BOP institutions"
ECF 10-2, R.B.   Reporting                                  7 [Officer O'Connor rubbed his genitals on her] "In March of 2022, I reported the
                                                              incident involving Officer O’Connor to at least three different members of the Task
                                                              Force but did not see any actions taken in response to that report either."
ECF 10-2, R.B.   Medical care                               9 [Has a medical condition where she has to administer her own enemas, which
                                                              requires beng partally nude. Usually able to be alone in a cell for privacy.] "In
                                                              November of 2022 this changed, and I was called into Case Manager O’Bien’s
                                                              office, and he told me I was getting a roommate and told me to talk to my Unit
                                                              Manager about my concerns. When I spoke to my Unit Manager Officer Groover,
                                                              she told me to just tell my roommate to turn their head. I submitted an
                                                              administrative remedy regarding this issue, but the only action taken in response
                                                              by the facility was to ask my roommate to leave the room when I administer the
                                                              enema. This is difficult because the facility only gives me twenty minutes or so of
                                                              time to administer the enema before my roommate comes back. This creates a
                                                              humiliating and dangerous situation for me due to how exposed I have to be and
                                                              an awkward and uncomfortable situation for my roommate"
ECF 10-2, R.B.   Medical care                              10 [Staff regularly look into room while shes doing the enema.] "As recently as March
                                                              of 2023, Officer Cortez shined a flashlight on me while I was in my room doing"
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ECF 10-2, R.B.      Reporting                                    12 "While these messages are not supposed to be read by BOP staff the computers
                                                                    in the facility do not have privacy screens and are positioned so that staff and
                                                                    other incarcerated persons can see what I am typing and who I am sending it to.
                                                                    All other forms of communication, including mail, video calls, phone calls, and
                                                                    email are heavily monitored by BOP staff. It is also difficult to report to counsel
                                                                    because staff at FCI Dublin limit access to legal calls and if you are placed in the
                                                                    SHU do not allow access to phone calls or emails to be able to tell people what is
                                                                    happening"
ECF 10-2, R.B.      Retaliation                                  14 "After I and others on my unit met with attorneys on June 29, 2023, our Unit
                                                                    Manager Craig called the whole unit to a Town Hall, when we all have to come out
                                                                    to listen to staff. Unit Manager Craig appeared to be losing it, yelling at myself and
                                                                    others and it made me feel afraid of what he might do"
ECF 10-2, R.B.      Mental health                                15 "I put in a request to speak to providers with Tri-Valley Care but was told the list is
                                                                    full."
ECF 10-2, R.B.      Medical care                                 16 "Up until recently there was no medical doctor at the facility. While the facility now
                                                                    has a part-time doctor, until this person came medical care was done through
                                                                    telehealth which does not allow for actual physical examinations. When the prior
                                                                    doctor was still on site, they wrote an order for me to have an ultrasound on one of
                                                                    my breasts. By the time my appointment came, there was no doctor at FCI Dublin
                                                                    anymore.and they figured out the order was accidentally written for the wrong
                                                                    breast. FCI could not change the order because no doctor was available to
                                                                    change it, so they did the ultrasound on the wrong breast. I was sent to a
                                                                    telehealth appointment but that doctor obviously could not effectively assess my
                                                                    breast. I am still waiting on the facility to send me for an ultrasound on the correct
                                                                    breast."
ECF 10-14, A.H.R.   Sexual assault                             9-10 "In July 2022, I began to be sexually harassed by a guard, Officer Nadia Vazquez.
                                                                    Officer Vazquez would find reasons to come get me. She and Officer Serrano
                                                                    used to come take me out. Officer Vazquez would also flirt with me, bring me
                                                                    contraband, like Red Bulls, Twix bars, and clothing, and take me to use staff
                                                                    computers. She would ask why I didn’t look for women 'beyond the fence.' She
                                                                    hugged me three times and on one occasion kissed me on the lips.Officers
                                                                    Vazquez and Serrano began to interfere with my romantic relationship with
                                                                    another incarcerated person. They wanted to make sure I wasn’t with her. On
                                                                    September 6, 2022, they took me to a staff office and Officer Serrano told me
                                                                    about the email messages that my girlfriend was exchanging with a former male
                                                                    officer, Officer Gacad. They also let me listen to all of her phone calls.Officer
                                                                    Vazquez stopped flirting with me when I reported my girlfriend’songoing
                                                                    relationship with Officer Gacad to SIS in November 2022"
ECF 10-14, A.H.R.   Reporting                                    12 "After I reported my girlfriend’s abuse to SIS, Lt. Putnam said that he would follow
                                                                    up with me later. He said it was “too much” for him to deal with. He has still not
                                                                    spoken to me about it." [November 2022]
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ECF 10-14, A.H.R.   Sexual assault                              14 "Just last week, on Thursday, August 10, another guard named Officer Souza was
                                                                   walked off for sexual misconduct with an incarcerated woman. Because my
                                                                   girlfriend and I were abused by other guards and reported it, and we are in
                                                                   communication with lawyers, staff and incarcerated people are spreading rumors
                                                                   that my girlfriend reported Officer Souza, and making her life very difficult"
ECF 10-14, A.H.R.   Cameras                                     15 "There are some cameras installed in fixed locations in the facility, but it is well
                                                                   known that there are no cameras in the offices that Officer Vazquez used to take
                                                                   me to. I have been in there myself and saw there were no cameras there. The
                                                                   cameras that are installed are enclosed in dark colored glass and it is impossible
                                                                   to tell where they are pointing or whether they are working."
ECF 10-14, A.H.R.   Retaliation                                 16 "After I made the report to SIS about my girlfriend, Officer Serrano came to my
                                                                   door and told me, “you better tell your fucking bitch to not report us,” referring to
                                                                   my girlfriend. After I testified in court for the government against former Officer
                                                                   Bellhouse, all the lieutenants and officers asked me about it—everyone on the
                                                                   compound knew that I had testified. I just tried to go straight back to my room. "
ECF 10-14, A.H.R.   Reporting                                   16 "Using the administrative remedy process is also extremely difficult – when we ask
                                                                   for the forms, they don’t give them to us. They always send us somewhere else.
                                                                   Most recently, it took me a very long time to get a BP-11 form."
ECF 10-14, A.H.R.   Retaliation                                 17 "For example, Officer Serrano began to spread rumors that my girlfriend was the
                                                                   reason that her boyfriend (another officer) was walked off. Since I reported, staff
                                                                   have targeted me. Earlier this week I was “randomly" drug tested, and given no
                                                                   reason. To me this felt like retaliation. I am afraid that I and other people will suffer
                                                                   even worse retaliation by participating in this lawsuit."
ECF 10-36, A.J.F.   Staffing changes                             9 [Officer Luna had a open relationship with her friend]. "At one point, Officer Luna
                                                                   stopped coming to work for several months, but eventually returned. We all
                                                                   assumed that he was suspended for being inappropriate with incarcerated
                                                                   women."
ECF 10-36, A.J.F.   Reporting                                   11 "A few months before my release date, after Officer Smith had been walkedoff
                                                                   and I was certain he would not return, I finally told my family about the abuse.
                                                                   Around February 2023, I sent my sister an email message describing what Officer
                                                                   Smith did to me. She contacted the authorities, and the FBI came to interview me.
                                                                   No one at FCI Dublin or in the BOP ever interviewed me about my experiences of
                                                                   sexual abuse."
ECF 10-36, A.J.F.   Mental health                               15 "The sexual harassment that I was experiencing brought up a lot of childhood
                                                                   trauma, but I was unable to receive mental health care when I needed it the most.
                                                                   I asked for medication to help with the anxiety, panic attacks, and insomnia that I
                                                                   experienced but never got any. I also asked for medication for chest pains that I
                                                                   suffered from, but I was turned down on the basis that I would get addicted to the
                                                                   medication. I also never got any counseling or therapy for trauma while at FCI
                                                                   Dublin."
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ECF 10-36, A.J.F.   Medical care                                 16 "One of my friends worked in the medical unit and she was abused by a medical
                                                                    provider named Avalos. I needed medical care multiple times and did not get it. I
                                                                    had a painful cyst that grew for nearly two years. FCI Dublin staff refused to treat it
                                                                    and told me it was 'cosmetic,' and I eventually had to drain it myself with a razor to
                                                                    stop the pain."
ECF 10-36, A.J.F.   Access to                                    17 "Staff take a very long time to set up legal visits, and staff often open and read
                    Phone/Mail/Lawyer/Visits                        legal mail. FCI Dublin recently created a pilot legal phone program, but it only
                                                                    operates during certain hours, and staff delay or even refuse to add attorneys’
                                                                    phone numbers to the line. The phones are also in locked rooms, and we had to
                                                                    ask staff to open the rooms in order to use the phones, which meant telling staff
                                                                    that we were communicating with outside lawyers."
ECF 10-43, A.R.     Sexual assault                              5-8 [Was put in the SHU in Jan 2023]. "While in the holding cell, Officer Caston began
                                                                    to sexually harass me. I was sitting on the floor of the holding cell and could hear
                                                                    him tell another officer to 'look at her big-ass titties.' Officer Caston also refused to
                                                                    give me period products. As a result, I ended up bleeding through all of my
                                                                    clothes. Finally, a female officer came about an hour later and I showed her my
                                                                    bloody clothes. They were laughing and mocking me. Telling me I was being a
                                                                    crybaby and that I can just wait. The female officer did eventually issue me e
                                                                    clothing and provide me with feminine hygiene products.When he was transferring
                                                                    me from the holding cell to my cell in the SHU, Officer Caston groped me when he
                                                                    went to cuff me up, he rubbed his penis on my backside and reached around and
                                                                    grabbed my breast. 8. Several days later, during count, he told me to step out of
                                                                    the shower. I was saying no, waving my arm. He told me to step out, he started
                                                                    laughing at me, I said 'you just want me to see me naked.”'

ECF 10-43, A.R.     Retaliation                                9-10 "Officer Caston continued to harass me in the days afterwards. He repeatedly
                                                                    banged on my door when he worked the night shift and I began to suffer the
                                                                    effects of sleep deprivation. I once asked him for pencils and he refused to give
                                                                    them to me and taunted me by telling me to write to SIS Officer Ferguson. Officer
                                                                    Caston also once told a female officer to put me in handcuffs in front of two other
                                                                    officers. He told her to 'slap those cuffs on her,' I objected, and he told me to “shut
                                                                    the fuck up.”
                                                                    "In addition, he implied that he would interfere with my outgoing mail, saying 'I
                                                                    hope they get out,' in reference to my letters. I attempted to send 12 letters and
                                                                    Officer Caston just laughed and laughed. It appears that both my incoming and
                                                                    outgoing mail was tampered with. I know my out mail was tampered at the very
                                                                    least, very few letters made it out."
ECF 10-43, A.R.     Retaliation                                  12 "Shortly after my report to SIS, I received word that I was found as the aggressor
                                                                    for the time I was assaulted by other incarcerated people. This means that I had to
                                                                    stay in the SHU for another thirty days and fine me by taking 50% of what is on my
                                                                    books. I was also brutalized and subjected to a retaliatory transfer."
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ECF 10-43, A.R.   Retaliation                                 14 "Days after my attorneys filed an emergency request for administrative remedy on
                                                                 my behalf while I was still in the SHU, and just a day before BOP regional counsel
                                                                 were set to visit FCI Dublin, I was transferred. I believe that BOP transferred me
                                                                 to avoid me speaking to regional counsel. Another girl in the SHU, told me that
                                                                 she heard them say, in reference to the transfer list, “add her to the list because
                                                                 region’s coming tomorrow.” I also believe that I was a last-minute addition
                                                                 because my name was always a 'write-in' during my weeks long transfer process.
                                                                 The transfer itself was awful, it took over two weeks, and I was black-boxed for
                                                                 part of the time and placed in a cage." [March 2023]
ECF 10-43, A.R.   Reporting                                   15 "When I arrived at FCI Dublin in January 2023 I was given no PREA training.
                                                                 There were no PREA signs in the SHU at FCI Dublin. In comparison, at Waseca,
                                                                 there are OIG and PREA signs everywhere."
ECF 10-43, A.R.   Staffing changes                            16 "Although Officer Caston was removed from the SHU following my report, my
                                                                 understanding is that he still works at Dublin."
ECF 10-6, A.S.    Reporting                                   15 "To this day, the grievance process at Dublin is largely unavailable. You have to
                                                                 ask your counselor for the BP-9, BP-10, and BP-11 forms, but we haven’t had a
                                                                 counselor on our unit for months. In addition, my unit manager is hardly ever on
                                                                 the unit the same time I am because I work from about 6am to 3:30pm. Even
                                                                 when you get your staff member, they say they do not have the forms. I have had
                                                                 to really fight to get a BP- 11, a form I needed to report on these ongoing issues."

ECF 10-6, A.S.    Reporting                                   17 "People were told that they would be reporting to 'The Task Force' outside of
                                                                 Dublin which was said to be independent from Dublin staff, but the reports led to
                                                                 the Special Investigative Specialist (SIS), Lieutenant Putnam at Dublin calling
                                                                 people in and questioning them on things they sent to the Task Force"
ECF 10-6, A.S.    Retaliation                 20-21              "Recently, in January 2023, a new Lieutenant came to Dublin, named Lt. Jones.
                                                                 She explicitly told people that she is retaliating against them for the things thatare
                                                                 being said about her fellow officers. She told me and my roommates: 'I came here
                                                                 because of everything that’s going on, you can go ahead and write me up, it’s not
                                                                 gonna go anywhere.'"On Martin Luther King Day Weekend in 2023, she searched
                                                                 a group of people against the wall who had been outside in the rain—in front of
                                                                 everyone else. She screamed at those watching: 'stop staring, you’ll be next.' Lt.
                                                                 Jones threatened people, saying, 'I’ll take care of you real good. I’ll go tear up your
                                                                 bunkie’s stuff so she can deal with you later.' She writes people up for false
                                                                 issues. She screams at people in the dormduring her night shift, shouting, 'You
                                                                 wouldn’t have to deal with staff like me if you hadn’t gotten rid of all the good
                                                                 ones,' and 'you told on all the good ones.' I understand that Lt. Jones was placed
                                                                 on administrative leave for sexual assault allegations in March 2023."
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ECF 10-6, A.S.    Sexual assault              22-23              "In late April 2023, shortly after speaking to the FBI for the first time about my
                                                                 abuse from Officer Smith, Officer Lewis ordered me to unzip my sweatshirt (which
                                                                 I always keep zipped up my neck) and expose my chest while leaving Chow Hall.
                                                                 Given my prior experiences of sexual harassment (Officer Smith was completely
                                                                 fixated on my breasts) – this incident caused me great anxiety and humiliation.
                                                                 When I protested, Officer Lewis told me to keep 'running [my] mouth.' I
                                                                 immediately did approach the new SIS lieutenant to tell him what happened, but
                                                                 he did not really care or write anything down. The same day, my cell was
                                                                 searched 'randomly'—for the third day in a row." "Officer Lewis has continued to
                                                                 ask me to unzip my sweatshirt nearly every day since then. I told Lt. Putnam about
                                                                 this, and he said it was 'unacceptable,' but nothing has changed."
ECF 10-27, A.V.   Reporting                                   10 "The person in charge of investigating staff misconduct – Lieutenant Putnam - has
                                                                 worked at this prison for years, while Garcia and the other officers who have been
                                                                 convicted were openly abusing people. Putnam knew that abuse was going on for
                                                                 years and did not stop it. I’ve also been told that we can send an email to OIG, but
                                                                 the computers are in public spaces, and the BOP Taskforce email has been
                                                                 deactivated. It’s extremely hard to get legal calls or visits with attorneys, and our
                                                                 legal mail is often delivered opened and photocopied."
ECF 10-27, A.V.   Reporting                                   11 "In the spring of 2021, I reported what I have experienced at FCI Dublin to the
                                                                 BOP Taskforce via email but did not receive a formal response. They did send a
                                                                 mental health person to speak with me but he seemed tothink that because I was
                                                                 not sexually assaulted myself that there was nothing to talk about and did not
                                                                 seem to listen to what I told him about how witnessing so much abuse was
                                                                 affecting me. I previously reported the abuse I witnessed by Officer Klinger to
                                                                 Officer Bellhouse only to then witness Officer Bellhouse abuse others."
ECF 10-27, A.V.   Retaliation                                 12 "After Officers Klinger and Bellhouse were arrested everybody who worked in
                                                                 safety was targeted for retaliation. Officer Saucedo started to read my emails to
                                                                 my family and quote them back to me verbatim. Other staff made comments
                                                                 implying I and others were having sexual relationships with our bosses. Staff
                                                                 scream at us, search our cells, and bang on our doors to humiliate us and cause
                                                                 us anxiety. During the Martin Luther King weekend in January 2023, I saw
                                                                 Lieutenant Jones force a group of kitchen workers to stand outside in the rain,
                                                                 some of them barefoot, while she screamed at them"
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ECF 10-27, A.V.     Mental health                            14 "The mental healthcare unit at the facility is dangerously understaffed and only
                                                                allows us to speak with BOP employed staff, many of
                                                                which are friendly with the correctional staff. The only psychiatrist currently at the
                                                                facility is married to one of the correctional officers, Unit Manager Craig. There
                                                                has been a huge amount of turnover and medical and mental health staff are
                                                                constantly leaving the facility for other positions. In general, I feel uncomfortable
                                                                being open with FCI Dublin mental health staff because they are employed by the
                                                                same agency that employers the abusive officers. I’ve heard that some people
                                                                have been able to get appointments to see Tri Valley Haven, but can only get five
                                                                thirty-minute sessions, and the sessions are not with the same person and are not
                                                                with licensed clinicians."
ECF 10-30, C.A.B.   Mental health                             4 "As a result of his abuse and the ongoing treatment I have experienced at FCI
                                                                Dublin I have been diagnosed with psychosis, bipolar disorder, PTSD, anxiety,
                                                                depression, and mood swings. I had been on medications for these conditions, but
                                                                they were abruptly stopped in December of 2022 when the psychologist told me I
                                                                did not need my meds, and to take magnesia instead. The only thing I was left on
                                                                was a very low dose of Prozac that does not help me enough. At one point they
                                                                tried to put me on Trazodone, but it made me sleep all the time and also jittery and
                                                                I couldn’t take it due to the side effects. The person who prescribed me the
                                                                Trazodone was not a psychiatrist and I asked to speak to a psychiatrist, but they
                                                                said no. I still have not seen a psychiatrist and still am only on the low dose of
                                                                Prozac."
ECF 10-30, C.A.B.   Mental health                             7 "In June 2023 I became suicidal. I was cutting my wrists while sitting on the floor
                                                                of my room when officers saw me. Instead of offering me help or calmly engaging
                                                                as I was obviously in distress, the Lt. screamed and yelled at me. I dropped the
                                                                razor but was too weak to move and felt frozen sitting on the floor bleeding.
                                                                Instead of helping me the officers pepper sprayed me, dragged me across the
                                                                floor, and handcuffed my still bleeding wrists, before throwing me in a wheelchair.
                                                                While they were dragging me I heard the Lt. say not to drag me in front of the
                                                                cameras. Other people on my unit saw this happen. They left the handcuffs on
                                                                while they took me to medical. At medical there were no actual doctors and BOP
                                                                staff did not seem to know what to do."
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ECF 10-30, C.A.B.   Retaliation                                  8 "Staff at FCI Dublin prevent people from reporting sexual assault and abuse by
                                                                   staff and retaliate against people who do report. I was placed in the SHU after
                                                                   reporting my abuse and it was a horrible experience. Since I reported and started
                                                                   meeting with attorneys, officers constantly watch me and write me up for any
                                                                   minor thing I do, making me feel targeted and nervous all the time. Since meeting
                                                                   with my lawyer, I have faced additional retaliation and feel I am being targeted for
                                                                   exercising my legal rights. I have begged not to be sent to the SHU again, but the
                                                                   officers just tell me sarcastically to call my lawyer in response. I am so worried
                                                                   they are looking for reasons to send me to the SHU that I recently had a panic
                                                                   attack when talking to an officer. Officers have also read my confidential legal
                                                                   mail, which I know because I receive it without an envelope and then they just tell
                                                                   me to call my lawyer. Knowing that the officers will treat me this way makes me
                                                                   dread the embarrassment and humiliation I will feel after other meetings with legal
                                                                   counsel and makes me afraid to engage with my attorney"

ECF 10-30, C.A.B.   Medical care                                 9 "And along with being taken off my psych meds in December 2022, I was taken off
                                                                   my epilepsy medications at the same time. I had
                                                                   been on epilepsy medication for many years. Soon after being taken off the
                                                                   epilepsy medications, I had my first seizure in two years. I continue to have
                                                                   seizures, but I have stopped reporting them to medical because the staff there did
                                                                   not believe they were a real medical emergency and thought I did not need my
                                                                   medication, offering to prescribe me magnesia....They throw away my sick calls,
                                                                   tell me to do a new one, and say they need a medical emergency to be able to see
                                                                   people.the medical unit is, 'don’t come here unless you’re dying.' I have seen other
                                                                   incarcerated people faint or bleed from their eyes and still be unable to get
                                                                   medical care."
ECF 10-1, C.B.      Reporting                                    9 "When I reported to Lieutenant Putnam around Thanksgiving 2021, I was never
                                                                   called back to the office to discuss my report, and no one
                                                                   ever contacted me about PREA until early 2023, almost a year and a half after the
                                                                   incident I reported."
ECF 10-1, C.B.      Medical care                                12 "I was previously on a series of medications including Gabapentin, Abilify, and
                                                                   Prozac. In approximately December 2022, they took me off all my psychiatric and
                                                                   pain medication without warning even though I have bipolar disorder, depression,
                                                                   and nerve damage that requires pain medications. I asked to speak with my
                                                                   counselor, but I was not able to see them for months. They have told me that I
                                                                   need to see a psychiatric doctor but there is no such doctor in the facility. In
                                                                   approximately mid-June 2023, I was finally put back on Prozac, but I still have not
                                                                   received my antipsychotic or pain medications. Due to the long gap without my
                                                                   psychiatric and pain medications, I had felt my depression worsening, and I have
                                                                   been tired more often. I was never informed about Tri-Valley Care as a way for
                                                                   survivors to speak with an outside counselor."
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ECF 10-34, C.C.     Retaliation                                 11 "In January 2022, I got transferred to the camp at Dublin all of a sudden. There, I
                                                                   was targeted too. I had never gotten in trouble before, but I started getting write
                                                                   ups all the time, left and right. I was thrown in the SHU for 13 days. I was having a
                                                                   really hard time, and then they transferred me all the way to Texas, where I
                                                                   haven’t seen my children since 2019."
ECF 10-23, C.H.     Reporting                                    7 "While I was in the SHU I could hear Putnam down the hall talking to another
                                                                   person in the SHU about sexual misconduct say, 'I don’t know. He’s in charge.
                                                                   These are my buds.'"
ECF 10-23, C.H.     Retaliation                                 10 "In January 2022, I was sent to the SHU again for three months. While I was
                                                                   there, Ramos threw away all of my belongings again. I just got the legal
                                                                   paperwork to challenge this. I wanted to file a Federal Tort Claims Act claim, but I
                                                                   was afraid of retaliation. Staff get angry with us if we speak up to them. The
                                                                   Director of BOP, Carvajal, came to talk to us at one point. I think he was trying to
                                                                   reassure us but when he said, 'you wanted attention? You’re gonna get it' I
                                                                   thought oh we are in trouble now because they are going to blame us for all the
                                                                   difficulties. It made me feel hopeless."
ECF 10-23, C.H.     Mental health                               12 "I’m actively suicidal and have a lot of mental health issues, but when I have tried
                                                                   to talk to mental health staff they do not seem to take me seriously and all they
                                                                   have to offer me are pamphlets like how to cope with PTSD. They only offer us
                                                                   classes like Anger Management. They told me to talk to staff about Tri-Valley, but
                                                                   I didn’t know the process to reach them. I once spoke to Dr. Norfley about my
                                                                   mental health issues and my struggle with suicidal ideation, and he only yawned. I
                                                                   have some access to medications, but overall, I have so many issues that they
                                                                   aren’t treating."
ECF 10-18, E.M.A.   Reporting                                    9 "Around November 2022, SIS Lieutenant Putnam called me in for an interview. I
                                                                   told him that Ramos mistreated me, and that I witnessed Chavez sexually abusing
                                                                   M and other women. I gave Lieutenant Putnam the earrings that Chavez gave me.
                                                                   Lieutenant Putnam told me not to speak to anyone else about my experiences. He
                                                                   did not take notes while we talked, and I have never seen any records from our
                                                                   conversation. No one from SIS or the FCI Dublin administration followed up with
                                                                   me."
ECF 10-18, E.M.A.   Lawyer acess                                12 "We can’t use regular means of communication to report staff misconduct,
                                                                   because staff monitor our phone calls, email messages, and regular mail. Staff
                                                                   have also actively tried to limit our access to attorneys. It takes weeks and months
                                                                   for attorneys to schedule appointments with us. When we do meet with attorneys,
                                                                   the meetings are in a large visitation room with no privacy and staff present."

ECF 10-18, E.M.A.   Retaliation                                 12 "After lawyers came to meet with a group of us on March 9, 2023, staff strip
                                                                   searched every single person who met with,lawyers. I had never heard of staff
                                                                   strip searching someone before or after a legal visit, and the searches were
                                                                   embarrassing, and felt like clear retaliation for speaking out.After a recent legal
                                                                   visit, a new officer named Shirley even saidto me, 'I’m not going to say anything to
                                                                   you, you’ll just report me to your lawyer.'"
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ECF 10-18, E.M.A.   Access to                                    12 "Also, our legal mail is often not delivered, or delivered already open or
                    Phone/Mail/Lawyer/Visits                        photocopied. Legal visitors told me that FCI Dublin set up a new pilot phone
                                                                    system, but I had never heard of it before, and do not know how to use it."
ECF 10-18, E.M.A.   Mental health                                14 "I’ve heard that you can now request an appointment with Tri-Valley, but you have
                                                                    to request the appointment through a staff person, and you only,get five, thirty-
                                                                    minute sessions, and the sessions are not with actual clinicians."
ECF 10-18, E.M.A.   Medical care                                 15 "It often takes months to get appointments. I have a history of cancer – I was
                                                                    diagnosed with leukemia when I was 17 years old. My mom had three different
                                                                    kinds of cancer. I am supposed to have check ups every 6 months to make sure
                                                                    that my cancer doesn’t come back, but have not had any check ups during my
                                                                    time at FCI Dublin. When I first came to FCI Dublin I had a lump in my breast and
                                                                    my doctor told me that I needed to get it checked. I’ve requested cancer
                                                                    screenings many times at FCI Dublin, and have only ever received one, two years
                                                                    ago."
ECF 10-44, F.G.A.   Sexual assault                             6-16 "Around June 8, 2022, Cohen said he wanted to check my heart. My hair was in a
                                                                    ponytail in front of my left breast. Cohen grabbed my right breast, 'cupped it up,'
                                                                    and swiped it from right to left."
ECF 10-44, F.G.A.   Reporting                   19-25               "I spoke with SIS Lt. Putnam about Cohen’s abuse. I told him the entire incident
                                                                    as I described it above. I believe Putnam documented my report. Putnam said he
                                                                    would share it with his higher ups and conduct a follow-up investigation. Putnam
                                                                    also told me that a psychiatrist would be speaking with me." "Two weeks later, I
                                                                    still had not heard back from Putnam, nor had I heard from anyone. I tried to
                                                                    speak with Putnam again after my bunkmate told me that they had swept it under
                                                                    the rug." "Putnam refused to speak with me again, saying someone else was
                                                                    going to speak with me. Putnam said he would 'take care of it,' but there is no
                                                                    documentation of what he did. I believed that telling Putnam, as a reporting officer,
                                                                    would be sufficient." "Putnam did not tell me to file anything. I was never told the
                                                                    process of what I should do." "I reported the incident to Assistant Warden Robles
                                                                    after Putnam refused to speak with me again. Assistant Warden Robles did not
                                                                    know that it had happened, but said, "I assure you, they didn’t sweep it under the
                                                                    rug.'" "Yet, no one reached out to me during my entire period of incarceration. I
                                                                    have not received any documentation of my report. None of Putnam’s superiors
                                                                    reached out to talk to me." "I tried to speak with Counseling Manager Campos.
                                                                    Campos told me that if it’s concerning what happened, my bunkmate already
                                                                    reported it. Campos did not provide me with any resources, listen to my story, or
                                                                    tell me what to do next. Campos said she had 'already sent the paperwork.' I was
                                                                    very confused about why Campos would not want to hear the story directly from
                                                                    me.
ECF 10-44, F.G.A.   Retaliation                                  29 For example, a female officer who escorted me to medical asked to speak with
                                                                    the medical staff outside and warned the medical staff that 'she’s the one
                                                                    concerning Cohen,' to 'be careful' because 'she put the PREA on him.' When the
                                                                    medical staff returned to the room, they spoke with me awkwardly.
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ECF 10-44, F.G.A.   Mental health                               36 "I was able to speak with the psychologist only a small handful of times. I had
                                                                   spoken with him twice four months after Cohen left. I tried repeatedly to speak
                                                                   with him further but was not allowed. He said he would call me to make an
                                                                   appointment and didn’t reach out again for over a month."
ECF 10-42, F.M.C.   Mental health                               15 "We had never heard of it then. I heard about them about a month before my
                                                                   transfer in March 2023, it was not until attorneys got involved that we heard about
                                                                   them. It seemed that the attorneys brought out TriValley care with them. I put a
                                                                   staff request to psychology, but I was transferred before I heard anything."
ECF 10-7, J.D.      Reporting                                    6 "When I arrived at FCI Dublin in June 2021 I was not provided adequate training
                                                                   and information about how to respond to sexual abuse by officers. I only found out
                                                                   about PREA through word of mouth from others and it was always considered a
                                                                   joke. Officers would make jokes such as saying, 'it’s not PREA if it is pre-
                                                                   approved' and 'it’s not PREA if you agree.' It was also only framed as something
                                                                   that applied between inmates, as in to prevent inmates from having sex with each
                                                                   other or to not have girlfriends"
ECF 10-7, J.D.      Reporting                                    7 "I did not initially report the harassment by Officer Smith because I was afraid of
                                                                   retaliation. After speaking with counsel in April 2023, I emailed the facility to report
                                                                   the abuse. I specifically directed my message to Officer Ferguson with SIS
                                                                   because I am more comfortable speaking to him than to SIS Lt. Putnum because
                                                                   everyone knows Lt. Putnum brushes everything under the rug and I do not trust
                                                                   him. Officer Ferguson ended up having me speak with SIS Lt. Putnum anyways.
                                                                   When I told him, he told me I can’t talk to anyone about my harassment other than
                                                                   my attorney and him and I felt he was trying to prevent me from speaking out
                                                                   about it to others."
ECF 10-7, J.D.      Retaliation                                  9 "Not long after a visit with attorneys on May 4 [2023] I was called to meet with SIS
                                                                   Lt. Putnum and Officer Bodezon in a small room where they asked if I was
                                                                   receiving any “shit” from officers. I did not feel comfortable speaking openly to
                                                                   them and saw at least four other people who had met with the same counsel I had
                                                                   also get called to the SIS office, leading me to believe they were targeting people
                                                                   based on the fact we met with attorneys. I kept reaching out to attorneys because
                                                                   I want things to get better here but it made me very aware that I and others are
                                                                   being watched and that nothing is confidential."
ECF 10-7, J.D.      Retaliation                                 10 "This happened again after another visit with attorneys on June 29, 2023. The day
                                                                   after, our Unit Manager Craig called the whole unit to a Town Hall, which is when
                                                                   we have to come out of our rooms and go into the unit all together to hear from
                                                                   staff. Unit Manager Craig had been at the attorney visit the prior day and was
                                                                   visibly upset and said he did not understand why we think we have it so bad and
                                                                   that he has 'a lack of empathy' for us because our doors don’t lock so he doesn’t
                                                                   understand why we 'complain so much.'"
ECF 10-7, J.D.      Retaliation                                 11 "Around December of 2022, Lt. Jones held a Town Hall meeting. During this
                                                                   meeting she took the opportunity to threaten us and said, 'if you want to write me
                                                                   or my officers up, I will find a reason to get you or put you in SHU or maybe I will
                                                                   just come after your friends.' She told us, 'I love to put people in the SHU.'"
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ECF 10-7, J.D.      Medical care                                14 "When I was put in the SHU when I had COVID in July 2022, the conditions in the
                                                                   SHU were so bad I got a terrible rash that resulted in sores and lasting marks. I
                                                                   put in four separate sick call requests and did not receive proper treatment or to
                                                                   see a specialist. Each time I put in a sick call request is costs me two dollars
                                                                   because it is not considered chronic care, even though it is a lasting problem.
                                                                   Because they do not respond to my sick calls, this money adds up. I have been
                                                                   dealing with it for almost a year and nothing has been done. I still struggle with the
                                                                   effects today and my entire body has scars. I also have not been able to get my
                                                                   medical records even though I’ve requested it."
ECF 10-3. J.L.      Retaliation                                  6 "One day I went to dinner at grab and go, where you get your meal to take back to
                                                                   your room, and he pulled me to the side and told me he was going to beat my ass
                                                                   because he was pissed but then went on to tell me he understood I needed to get
                                                                   it off my chest but to keep my mouth shut so that 'we' don’t get in trouble" [After
                                                                   being sexually assaulted]
ECF 10-3. J.L.      Retaliation                                  9 "The officers now act 'odd' and talk about how scared they are of further PREA
                                                                   complaints. New staff are aggressive and rude or try to avoid us entirely. Over
                                                                   Martin Luther King Jr. weekend in January 2023 Lt. Jones pat searched all the
                                                                   kitchen workers, including me because I was a part of the kitchen crew, in front of
                                                                   four male officers. Lt. Jones made us put our food trays on the ground with geese
                                                                   poop all over the place and taunted us telling us she loves to send people to the
                                                                   SHU, to 'make sure to write your lawyers about this,' and 'when you write to your
                                                                   lawyers, make sure you spell my name right. It is J-O-N-E-S,' and made it clear
                                                                   that staff read our emails and letters. None of this started until I and others started
                                                                   meeting with attorneys"
ECF 10-3. J.L.      Reporting                                   10 "After I was assaulted by Officer Jones I asked a female officer, Officer Tobin,
                                                                   how to report sexual abuse and PREA violations. She told me to report to SIS Lt.
                                                                   Putnum and in approximately May 2022 I did but nothing was done except that
                                                                   Putnum calls me in every couple of months to 'check in on me.' I reported my
                                                                   experiences to the FBI and met with them for an interview in August of 2022. No
                                                                   one from FCI Dublin followed up with me further until a couple of months later to
                                                                   check if I was ok and until I filed an emergency administrative remedy regarding
                                                                   the issue because I am afraid something like this could happen again with a
                                                                   different officer due to the lack of real response or actions from FCI Dublin and
                                                                   BOP"
ECF 10-17, J.L.H.   Reporting                                   11 "When the BOP delegation came to FCI Dublin in 2021 I spoke with a BOP
                                                                   representative. I told her that I had seen officers sexually abuse women and that I
                                                                   was afraid that if I reported I would be taken to the SHU or transferred. The
                                                                   representative said she would follow up with me, but I never heard anything from
                                                                   her or the BOP delegation again. I also went to hear Director Carvajal speak when
                                                                   he visited, but was very disappointed. He opened his remarks by saying
                                                                   sarcastically: 'Well, you wanted to be heard, so here we are.' This made me and
                                                                   others feel like we were the problem, and that BOP resented us for making them
                                                                   do their jobs."
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ECF 10-17, J.L.H.   Reporting                                   12 "Sometime in 2023 FBI agents came to see me at FCI Dublin, and I told them I
                                                                   was uncomfortable talking without my lawyer. They asked me more questions,
                                                                   and wanted to know if I had 'actually signed a contract' with a lawyer. I felt like
                                                                   they were pressuring me to speak with them. Eventually they ended the
                                                                   conversation."
ECF 10-17, J.L.H.   Other                                       13 "I wasn’t given formal training or shown a video. I had no idea what PREA was
                                                                   until very recently. Since the warden and other officers were arrested in 2021,
                                                                   BOP has put up some new posters in the units and by the phones, but still have
                                                                   not given us actual training or guidance"
ECF 10-17, J.L.H.   Reporting                                   15 "I also know many people who have reported abuse or retaliation to OIG but
                                                                   nothing was done to hold staff accountable. It’s very difficult to get calls or visits
                                                                   with attorneys, and our legal mail is often delivered already opened or
                                                                   photocopied, or not delivered at all. FCI Dublin just started a 'pilot' program
                                                                   confidential phone line, but they never provided us with any instructions on how to
                                                                   use it. The phones are in locked rooms, and you need to ask a staff person to
                                                                   open the rooms. We also have no idea how long this will last, and I’m still afraid
                                                                   that staff will listen in on these calls."
ECF 10-17, J.L.H.   Retaliation                                 17 "If anything, it feels like retaliation has gotten worse since the warden and other
                                                                   officials were walked off in 2021. The rules have gotten stricter for incarcerated
                                                                   people and our lives have gotten more difficult, even though it was staff who
                                                                   abused us to begin with. New staff are resentful and they are taking it out on us.
                                                                   New officers like Lt. Jones, Officer Malone, and Officer deLuca are extremely rude
                                                                   and disrespectful. They yell at us, and I’ve heard staff call us 'snitches' more times
                                                                   than I can count. They’re also doing more cell searches than ever– I’ve seen that
                                                                   when staff come to do searches they have a list of names, and some people have
                                                                   their cells searched multiple times a day, seemingly for no reason."

ECF 10-17, J.L.H.   Retaliation                                 18 "Two of my friends reported staff abuse in the fall of 2022 and they were
                                                                   immediately labeled as 'snitches'-- staff started targeting them, yelling at them,
                                                                   searching their cells constantly for no reason, and doing everything possible to
                                                                   make their lives harder. Recently, after a legal visit in March 2023, I was strip
                                                                   searched by staff, which has never happened before, and which felt to me like
                                                                   clear retaliation for speaking with advocates. I am very afraid of facing further
                                                                   retaliation. I have not seen my children in four years and if I am transferred out of
                                                                   Dublin I may not see them for the rest of my incarceration."
ECF 10-17, J.L.H.   Mental health                               19 "I went to the staff psychologist around February 2022. I have repeatedly asked
                                                                   for therapy and psychiatric medication to treat my anxiety, but have never received
                                                                   this care. The psychologist just tells me: 'do more exercise.' FCI Dublin recently
                                                                   started offering sessions with Tri Valley Care, but only a handful of women have
                                                                   actually seen Tri Valley counselors, and they only get five, thirty minute sessions.
                                                                   This is not enough. We are all traumatized in here."
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ECF 10-22, J.T.   Retaliation                                  7 "In January 2022, I was fired from my kitchen job because it was easier for the
                                                                 facility to fire me than to deal with my reports about Officer Jones. I know this was
                                                                 directly a result of Officer Jones because once he was walked off the job, I was
                                                                 asked to return to food service." [Officer Jones repeatedly sexual harrassed her
                                                                 throughout 2021 while at work]
ECF 10-22, J.T.   Reporting                                   11 "I tried to report Officer Jones’ verbal abuse to my supervisor, Mr.Fracker. When
                                                                 my supervisor confronted Officer Jones while I was with him, Officer Jones said
                                                                 that he would beat Mr. Fracker up in the parking lot. Officer Jones was always
                                                                 physically intimidating everyone, even the staff. I felt very uncomfortable in this
                                                                 situation, and it showed that even superiors who knew about abuse in the prison
                                                                 could not intervene to stop it and protect me."
ECF 10-22, J.T.   Reporting                                   12 "I also told Ms. Tobin, who came to the facility as part of the task force from BOP
                                                                 regional. Ms. Tobin told me she put in a report, but nothing was done."
ECF 10-22, J.T.   Retaliation                                 13 "Lieutenant Jones also has threatened us for reporting. In the past few months,
                                                                 she has come into our unit and yelled that we were 'going to learn' if we 'wanted to
                                                                 play the write up game.' I understood this to mean that if we report Lieutenant
                                                                 Jones or other staff, Lieutenant Jones will write us up with a disciplinary ticket
                                                                 which could lead to time in the SHU or another negative consequence. She will
                                                                 find anything in our room to write us up for as retaliation."
ECF 10-22, J.T.   Retaliation                                 14 "I also used to be able to speak to my adult son and my dad through email and
                                                                 video visits for years, but now I am being told that I am not able to. I believe this is
                                                                 in retaliation for my reporting. Since December 2021, I have not been able to have
                                                                 calls or video visits and this still continues to this day. I have filed an administrative
                                                                 remedy request about Officer Jones, which went unanswered, and have also filed
                                                                 it to the regional BOP office; this also went unanswered."
ECF 10-35, K.D.   Retaliation                                 13 "When I was finally transferred, FCI Dublin transferred me under a code usually
                                                                 used for disciplinary transfers and, as a result, the U.S. Marshals treated me as if I
                                                                 was a disciplinary issue and handcuffed me using the 'black box' which is about
                                                                 the size of a cassette tape lengthwise and goes over the handcuffs, preventing me
                                                                 from moving my hands at all and keeping my wrists within one inch of each other.
                                                                 One of the marshals asked if I had testified at the former Warden’s trial and when
                                                                 I said I had he seemed to realize something and a little bit later they finally
                                                                 removed the black box. I also later found out that FCI Dublin put a new
                                                                 management variable on me when I transferred which prevented me from going to
                                                                 a less restrictive camp setting."
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ECF 10-35, K.D.     Mental health                             15 "Mental healthcare at the facility is dangerously understaffed and only allows us to
                                                                 speak with BOP employed staff, many of which are friendly with the correctional
                                                                 staff. The facility also repeatedly blocked access to the victim witness advocate,
                                                                 appointed to me through the U.S. Attorney’s Office, who was supposed to provide
                                                                 me support after I testified against the former Warden in Court. It took over two
                                                                 months for her to be able to meet with me despite multiple requests from me and
                                                                 from her office trying to set up a call or visit. When I was finally able to meet with
                                                                 her, she was only able to see me because she was escorted in by representatives
                                                                 from the Department of Justice and from the FBI."

ECF 10-35, K.D.     Mental health                             16 "There was no access to these services whatsoever up until mid-December 2022.
                                                                 However, there is still no confidential way to request services directly through Tri-
                                                                 Valley care. We are required to email our unit manager to set up a visit. I did so
                                                                 but was only able to start seeing representatives from Tri-Valley care recently and
                                                                 was told I am only allowed to see them for no more than five 30-minute sessions
                                                                 total. The staff do not appear to be licensed clinicians and I am still unable to
                                                                 access adequate mental health careto allow me to begin healing from the abuse I
                                                                 have suffered at FCI Dublin."
ECF 10-32, Z.T.S.   Reporting                 29-31              "In early 2022, Lieutenant Putnam, the Special Investigative Specialist (SIS),
                                                                 called me to speak with him about my experience with sexual harassment. I was
                                                                 scared to speak with him because I knew Lieutenant Putnam and Officer Poole
                                                                 were friends. I told Lieutenant Putnam a few details but did not feel comfortable
                                                                 telling him everything I experienced. A month later, I also spoke to the FBI. After I
                                                                 spoke to Lieutenant Putnam, Officers Poole, Jones, and St. Claire began calling
                                                                 me a 'snitch' whenever I walked past them."
ECF 10-19, Y.M.     Reporting                                  7 "I tried to report Mr. Garcia for sexually abusing my friend in a message to Ms.
                                                                 Korth, but never received any response. I did not report what I witnessed to SIS,
                                                                 because I do not trust SIS staff. SIS Lieutenant Putnam has worked at the prison
                                                                 for years, and I know many people who reported staff misconduct to him, and
                                                                 nothing was done. Another friend of mine in the dorm reported Officer Smith for
                                                                 sexually harassing her, and he was briefly taken out of our dorm, but then he
                                                                 came back and did not suffer any consequences.
ECF 10-19, Y.M.     Medical care                               9 "I had surgery in March of last year, and I did not receive the follow up
                                                                 appointments that I was supposed to, or the medications that were prescribed to
                                                                 me at the hospital. A friend of mine who was sexually assaulted by a guard has
                                                                 been suffering psychologically for months. She is not getting medication or
                                                                 therapy, and she recently cut herself many times."
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ECF 10-13, T.T.   Reporting                               11-12 "Staff at FCI Dublin prevent people from reporting sexual assault and abuse by
                                                                staff and retaliate against people who do report. I don’t feel safe because all the
                                                                officers protect each other to make sure reports about abuse are not released.
                                                                Officers get angry when they know we speak to attorneys. They often will do
                                                                shakedowns of people who
                                                                speak to attorneys. They did this to me even after I emailed an attorney. They also
                                                                open legal mail. My legal mail has been opened and has been stapled shut after
                                                                opening. That is how I know that nothing is confidential in this place.Officers make
                                                                it seem as if it is our fault that we are being abused and harassed. For example,
                                                                they told us we could no longer wear long shorts to dinner because almost the
                                                                whole kitchen staff was replaced for allegations of abuse or harassment. There
                                                                was a unit manager, Officer Korth, who tried to tell the truth about the abuse
                                                                happening and she ended up resigning. The facility wanted to transfer her away to
                                                                another facility. I know this because she told me about it and I read about it on the
                                                                news."
ECF 10-13, T.T.   Mental health                              14 "I have met with TriValley care twice but it is more of a time to vent because it is a
                                                                different person each time and I am not sure when they will see me next. It is also
                                                                difficult to have a different person each time because you have to explain what
                                                                happened over and over again....I thought I could trust the new psychologist Dr.
                                                                Mulcahey until an issue I had with a former roommate. That roommate
                                                                threatenedme by saying she would falsely accuse me of sexual assault, and I told
                                                                my Counselor who called the Unit Manager Craig who accused me of making a
                                                                false report because I had said I did not feel safe because of how my roommate
                                                                was acting. Instead of addressing my roommates behavior I was moved to
                                                                another unit even though I had been on the unit for 9 years. I told Dr. Mulcahey I
                                                                needed to talk to her about this and she told me she would put me on the
                                                                schedule but this was over two months ago and I still have not been put on the
                                                                schedule. I later heard that Unit Manager Craig is in a relationship with Dr.
                                                                Mulcahey."
                                                                .
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ECF 10-13, T.T.   Medical care                                15 "I have nerve damage from my knees down and carpal tunnel on both hands. I
                                                                 was supposed to receive surgery, but they only put a brace on my hands instead
                                                                 of providing me with the surgery I need. I have been diagnosed with a rare strain
                                                                 of anemia. I got bruises all over my body and when I told the facility about my
                                                                 bruises, they didn’t pay any attention. The doctors told me it likely got so bad
                                                                 because my anemia went undetected for the last ten years while I have been in
                                                                 BOP custody and now I have to take B12 shots once a month. Medical detected
                                                                 signs of colon cancer over a year ago and I still have not had a colonoscopy, one
                                                                 was scheduled at one point but I could not make it due to a death in my family and
                                                                 it still has not been rescheduled. I am also diabetic, and I get no accommodations
                                                                 for it—they deny me diabetic meals and when I ask for them say 'this is not a
                                                                 medical facility.' I also have dentures which were thrown away and I have not had
                                                                 a replacement in five years. We also do not have an eye doctor or a psychiatrist.
                                                                 Now, I just do not go to the doctor anymore because it is useless, and I have to
                                                                 use my own money to submit sick calls and the doctors do nothing. I remain in
                                                                 pain every day."
ECF 10-25, T.M.   Sexual assault                               5 "On the night of June 16, 2023, I was taking a shower in my housing unit after
                                                                 count. A male guard named Officer Cooper was working in our unit. He was
                                                                 known in our unit for being rude and yelling at us for no reason. The showers in
                                                                 our unit are in stalls with flimsy plastic curtains that are almost see-through.
                                                                 Officer Cooper entered the bathroom while I was in the shower and started yelling
                                                                 at me and shining a flashlight on the shower curtain. He then kicked the curtain
                                                                 multiple times, pushing it aside so that my naked body was in full view. He
                                                                 screamed at me to get out of the shower. I grabbed a towel and rushed out,
                                                                 shaking. I felt very violated and upset. I told him that what he did was
                                                                 inappropriate, and I wanted to report a PREA report against him, and asked him to
                                                                 get a lieutenant. He followed me back to my cell and stood outside for many
                                                                 minutes while I got changed. He did not call the lieutenant. After he left, I wrote an
                                                                 email to SIS describing what happened."
ECF 10-25, T.M.   Retaliation                                  6 "The next morning Lieutenant Hardy came to interview me. I described what
                                                                 happened the night before, but I felt like she did not take what I said seriously.
                                                                 Later that day, Officer Cooper handed me a write up for falsifying statements,
                                                                 disobeying an order, and being out of bounds. Later that afternoon he came back
                                                                 after he was told to leave by another lieutenant. But Lieutenant Hardy rewrote the
                                                                 report with him so that it looked like nothing happened, to make it seem like I
                                                                 never made a PREA report. I went to speak with Lieutenant Hardy and asked her
                                                                 why Officer Cooper was still working in my housing unit after I filed a PREA report
                                                                 against him. Lieutenant Hardy told me that she didn’t know that I filed a PREA
                                                                 report against him, even though we had just spoken about it that morning. She
                                                                 was so rude; she called me a liar, and she was retaliating against me."
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ECF 10-25, T.M.   Reporting                                     7 "About a week after this incident, the facility psychologist came to see me. I told
                                                                  him what happened, and he also did not seem to take me seriously. He even
                                                                  asked me 'well why were you in the shower anyways?' It felt like he was blaming
                                                                  me for Officer Cooper’s PREA violation. SIS Lieutenant Putnam came to interview
                                                                  me that week as well. He told me he would follow up with me, but I haven’t heard
                                                                  anything from him since."
ECF 10-25, T.M.   Retaliation                                   9 "After I reported Officer Cooper, other staff retaliated against me. The week after
                                                                  my report, an officer gave me a bogus write up for being outside of my cell, even
                                                                  though I had permission to be where I was. That same week yet another officer hit
                                                                  my room, tossing my belongings everywhere and breaking my headphones. To
                                                                  me these were clear punishments for speaking out."
ECF 10-25, T.M.   Medical care                              12-13 "The psychology unit is extremely understaffed and it’s hard to even get an
                                                                  appointment. I also do not trust the staff there, especially after the psychologist did
                                                                  not take me seriously and seemed to blame me for Officer Cooper opening the
                                                                  curtain while I was in the shower. I would really like mental healthcare. I was
                                                                  sexually assaulted and abused when I was young and this incident is bringing up a
                                                                  lot of trauma for me. I feel vulnerable and scared and alone." "The medical unit is
                                                                  understaffed and it takes forever to get an appointment, if you can get one at all.
                                                                  Most of the old medical staff was walked off because they sexually abused
                                                                  women here, and the new staff are extremely rude and cruel to us. I had an
                                                                  allergic reaction that caused my face to swell up, and I went to medical for help. I
                                                                  waited 5 hours, and when I asked a staff person when I would be seen, he told
                                                                  me: 'just shut your big fat mouth.' He was so aggressive towards me and
                                                                  screaming that other staff had to hold him back."
ECF 10-38, S.T.   Medical care                                 11 "For the past 6-8 months, there were no mammograms. The x-ray technician was
                                                                  walked off. They brought in a new OB-GYN, a male doctor, who I have heard is
                                                                  touchy-feely.I was denied diabetic snacks for a very long time, and when I did
                                                                  receive them (moldy bread and cheese) — it was almost inedible. I was also
                                                                  regularly denied blood sugar tests. The medical care is horrible at FCI Dublin; I
                                                                  saw an 80-year-old woman living with an open leg wound."
ECF 10-9, S.S.    Sexual assault                                4 "I am constantly harassed and singled out by staff about my clothing, even though
                                                                  the clothing is commissary-issued. In general, staff are constantly telling me that I
                                                                  cannot leave my cell and/or walk around the area while wearing shorts. Other
                                                                  inmates in my unit are experiencing the same issue. Lt. Ramirez pulled me over
                                                                  on the compound and criticized my clothes, saying I was “compromising officers.”
                                                                  My understanding is she has since been placed under investigation for PREA-
                                                                  related issued."
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ECF 10-9, S.S.   Other                                        6 In another instance, one day in September 2022, while I was working in the
                                                                kitchen as an orderly, a male food service officer yelled at me about being in the
                                                                back area of the kitchen where I was allowed to be and made a discriminatory
                                                                comment towards me.This comment hurt me so much that I cried, and others had
                                                                to console me. I left and went back to my unit and was going to write the officer
                                                                up, but my counselor said she would take care of it and speak to him... I
                                                                eventually quit my job in food service on October 31, 2022, as a result of all of the
                                                                harassment I was experiencing
ECF 10-9, S.S.   Sexual assault                               7 "Most recently, in February 2023, a male unit officer was doing his rounds and
                                                                looked in on me in the shower. He was supposed to come every 30 minutes, but
                                                                he came back after having just been there five minutes ago, and looked in on me
                                                                again while I was in the shower naked. When I looked up, he was standing there
                                                                while I was soaping myself. That same day he wrote me up in an incident report
                                                                for taking the shower (which I needed to do because I had been cleaning), and I
                                                                was adjudicated guilty, and I appealed. I filed a sensitive BP-10 but regional never
                                                                responded to me either. This happened multiple times although he only wrote me
                                                                up on an incident report once."
ECF 10-9, S.S.   Retaliation                                  8 In April 2023 I was put in the SHU on a false ticket relating to my suboxone
                                                                prescription. Extremely distressed, I was placed on suicide watch. While I was on
                                                                suicide observation, a male staff member came in without announcing himself,
                                                                and saw me while I was unclothed, causing me significant distress. The male staff
                                                                member then wrote me up for being a sexual threat. I wrote to the Warden and
                                                                saw the Regional Officer about this incident, and they dropped the charges. I also
                                                                wrote it up to OIG on the computer, but I received no response. I also did a BP-10
                                                                sensitive but have not received a response yet. They do not care about us here.
                                                                While the charges were dropped, my segregation term for the suboxone was
                                                                extended to a full 30 days, which I felt was retaliatory because other inmates with
                                                                the same charges did not get put in segregation at all and I had a prescription."
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ECF 10-9, S.S.    Retaliation                                 11 "The incident with the female officer was clearly an act of retaliation because the
                                                                 friend that I was with when we were stopped had filed a sexual abuse case
                                                                 against a staff member. To my knowledge, BOP never investigated her claim.
                                                                 After the incident with the female officer, I was placed in quarantine to prevent my
                                                                 legal visit; my quarantine was extended even though I was testing negative. Ever
                                                                 since I spoke to the Task Force, I have been getting incident reports for issues I
                                                                 never had before, like wearing boxers for count. I thought that what I told the task
                                                                 force would be kept confidential, but it seems like it was not. Staff have also
                                                                 retaliated against me by filing incident reports that are fabricated or picking at
                                                                 small, petty things that generally would trigger a warning. At the four federal
                                                                 prisons I was held at prior to coming to FCI Dublin I received a total of 15 incident
                                                                 reports across all of those facilities over the course of eight years. Since arriving at
                                                                 FCI Dublin I have received 10 incident reports in the past seven months alone all
                                                                 after reporting incidents with staff members and all in apparent retaliation for
                                                                 exercising my right. As a result, I have lost good credit conduct time which is
                                                                 forcing me to stay in prison longer that I should be."
ECF 10-9, S.S.    Reporting                                   12 "For instance, in the incident with male food service officer in the kitchen, I went to
                                                                 speak with the regional officer right after. The regional officer, Mr. High, informed
                                                                 me that he would “handle it and talk to him.” I even filed a report with the Task
                                                                 Force and Lt. Putnam about this incident. Nothing ever came of my report and as
                                                                 a result, I ultimately quit my job in the kitchen and am stuck using my extra money
                                                                 to eat because I have been avoiding the kitchen to avoid male food service office."

ECF 10-9, S.S.    Mental health                               14 "In December 2022, they took me off my mood stabilizer psychiatric medication
                                                                 cold turkey and without explaining why. It impacted me emotionally and physically,
                                                                 I couldn’t sleep, I fell into a major depression and ended up on suicide watch. I
                                                                 finally saw a psychologist after 3 weeks, but nothing happened, and I still do not
                                                                 have any medication to treat my depression and insomnia and continue to struggle
                                                                 as a result."
ECF 10-12, S.M.   Sexual assault                               6 "I once saw Lt. Putnam enter a room where a young Latina woman was in a
                                                                 suicide smock where she was naked underneath. She dropped the smock so she
                                                                 was naked and put her arms around him to give him a big hug and 'fix me, daddy.'
                                                                 I remember this because it was so shocking and he did not need to open the door
                                                                 in the first place. When he saw me standing there told me to get out. I later saw
                                                                 that Lt. Putnum gave this woman a job on the yard and she was always in his
                                                                 office."

ECF 10-12, S.M.   Mental health                               12 "There used to be more programing for psych, but there’s no longer any
                                                                 programming. The current chief psychologist only specializes in suicide watch.
                                                                 Also, when I asked Dr. Hoang to call Tri-Valley Care in approximately December
                                                                 2022 or January 2023 to discuss what has been going on at FCI Dublin he
                                                                 wouldn’t set up anything for the counseling call to be private."
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ECF 10-12, S.M.   Medical care                                 13 "I have had knee problems for two years resulting from a dislocation. The last
                                                                  doctor was giving me pain medications and a brace. I also had two inhalers for
                                                                  asthma, and osteoarthritis pills. Then, the MLP (mid-level provider/practitioner) at
                                                                  medical took everything in January 2023 including my brace. Instead of giving me
                                                                  my prescribed two asthma inhalers when I needed a refill and my arthritis
                                                                  medications, she told me to buy Tylenol and allergy pills at commissary every
                                                                  week. I did not get my medications for four months and only recently got my
                                                                  inhaler, cholesterol pills, and arthritis medication back. I also believe my medical
                                                                  records contain inaccurate information and I have not been able to get them to fix
                                                                  the errors which I am afraid is affecting my care."
ECF 10-15, S.L.   Sexual assault                              4-8 [Officer Gacad in long term violative sexual contact. Lasted until June 2022]. "In
                                                                  May 2022, he was working in my housing unit, F-Unit, at night. He showed up to
                                                                  my room, and stood in the doorway, and then he came in and kissed me and
                                                                  touched my genitals. I was naked because I had just got out of the shower. It
                                                                  lasted for a couple minutes and then he left because there were people out on the
                                                                  unit."
ECF 10-15, S.L.   Retaliation                                   9 [Gacad moved near mother of Plaintiff and has contacted her at her home.] "To
                                                                  my surprise, Officer Gacad was at my parents’ home, wearing a mask. My mom
                                                                  explained to me that my 'friend with tattoos' showed up at her door, told them that
                                                                  he loved me, and they let him stay with them or a week or two until he got a place
                                                                  of his own."
ECF 10-15, S.L.   Retaliation                                  10 "The last week in July 2022, I was sent to the SHU “for my own safety” afterI
                                                                  refused to speak with an OIG agent about our relationship. It was awful. All of my
                                                                  property was taken and never given back. SIS still has my property, including
                                                                  evidence of my relationship with Officer Gacad."
ECF 10-15, S.L.   Reporting                                    12 "In November 2022, my friend reported my relationship with Officer Gacad
                                                                  to SIS. Lt. Putnam said he couldn’t handle the allegations – that it was too much
                                                                  for him"
ECF 10-15, S.L.   Mental health                                13 "I repeatedly requested services from TriValley care, but it took several months for
                                                                  me to see anyone. I eventually was able to see people from TriValley care twice
                                                                  but it was not helpful...They also told me I could only have five sessions and after
                                                                  that I would have to speak to BOP mental health staff. I am not comfortable
                                                                  speaking with BOP mental health staff because they share everything you tell
                                                                  them with other staff at the facility. There also aren’t enough mental health staff to
                                                                  get an appointment. I need regular access to actual qualified outside mental
                                                                  health professionals to deal with this trauma."
ECF 10-15, S.L.   Reporting                                    17 "There is no effective way to confidentially report sexual assault and abuse by
                                                                  staff at FCI Dublin. Staff do not keep reports confidential. After I reported Officer
                                                                  Gacad, Officer Serrano blamed me for getting her boyfriend (another officer)
                                                                  walked off. She harassed me and called me a bitch."
ECF 10-15, S.L.   Sexual assault                               19 "Most recently, on Thursday August 10th, [2023] another officer that I worked with
                                                                  for a long time, Officer Souza, was walked off for sexual misconduct with an
                                                                  incarcerated woman."
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ECF 10-15, S.L.     Retaliation                                 18 "In addition to being put in the SHU, since [S.L. and Gacad's] correspondence
                                                                   was reported, Lt. Jones has threatened me and regularly embarrassed me in front
                                                                   of the entire unit. She has since been walked off for sexual misconduct
                                                                   allegations. Officer Serrano pulls our mail out of the mailbox and reads it to others
                                                                   to show they know what we are saying. The same officers monitoring our calls are
                                                                   spreading gossip about us. Officers Serrano and Vazquez tell people “don’t speak
                                                                   to L ,” which makes me feel targeted for more mistreatment. Officer Vazquez was
                                                                   also recently walked off for sexual misconduct."
ECF 10-10, N.A.     Retaliation                                 17 "I have also recently been verbally harassed by Lt. Ramirez, a female officer. After
                                                                   I was placed in the SHU the first time this spring in March 2023, within the month
                                                                   after I was let out, Lt. Ramirez repeatedly singled me out in front of other officers
                                                                   and incarcerated people. She told me to get my clothing altered, telling me my FCI-
                                                                   Dublin- issued shirt is too light" "I was put in the SHU again in May because of the
                                                                   positive test and had another urinalysis in the SHU that came out clean, so I
                                                                   believe Lt. Ramirez tampered with my test so that I would be punished. SIS Lt.
                                                                   Putnum tried to talk to me when I was in the SHU but I do not trust him because
                                                                   he has been here the whole time while BOP staff has been abusing incarcerated
                                                                   women."
ECF 10-10, N.A.     Retaliation                                 18 "In March 2023, I was placed in the SHU for having green clothing, which is
                                                                   issued by FCI Dublin and was never a punishable offense before." "I feel targeted
                                                                   because I feel that staff know that I reported Ramos. I reported this to SIS Lt.
                                                                   Putnam and reported to the regional office, but nothing has happened yet.
                                                                   Because of that placement, I lost 41 good days and six months of privileges
                                                                   including being able to see my family"
ECF 10-10, N.A.     Mental health                               20 "The psych unit said that they’d send someone from outside FCI Dublin to provide
                                                                   mental health care for me, Tri Valley Care, but that has not happened. I have not
                                                                   been told anything else about Tri Valley Care or how to access it."
ECF 10-39, M.V.R.   Other                                        7 "Officer Jones was also physically abusive to many people in the facility. Everyone
                                                                   knew he was in a relationship with R . He often made her cry and abused her.
                                                                   Once in the beginning of 2022, he was with her in the warehouse department. He
                                                                   began yelling at her and he slapped her across her face in front of me and
                                                                   everyone else around."
ECF 10-39, M.V.R.   Other                                        8 "I often heard [Officer Jones] tell people that he hated lesbians. He would tell
                                                                   women who he was in a sexual relationship with that if they were interested in
                                                                   other women that he would be angry...There was one particular person who
                                                                   looked very masculine in the facility that Officer Jones hated. When she was
                                                                   walking down the hall he would say “Look at that thing coming down the hall.” In
                                                                   2022, he beat and punched this person just because he’s homophobic and hated
                                                                   her."
ECF 10-39, M.V.R.   Retaliation                                 10 "She would conduct intense searches of people without cause and would even
                                                                   search people out in the rain. She screamed at people, and threw their food on
                                                                   the ground."
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ECF 10-39, M.V.R.   Mental health                                26 "There is no confidential mental health care available to survivors of sexual abuse
                                                                    and assault at FCI Dublin. There was one outside psychologist in the facility, but
                                                                    she disappeared in 2022 and there was no replacement for her."
ECF 10-31, M.S.     Sexual assault                              4,7 "Between May and October 2022, I was sexually harassed by a female medical
                                                                    technician at FCI Dublin during three medical appointments for x-rays and
                                                                    treatment of the osteoarthritis in my knees. At my first appointment in May 2022,
                                                                    the technician smacked my butt while examining me. During my second
                                                                    appointment, also in May 2022, she asked me to completely remove my pants to
                                                                    take x-rays, even though I could have easily pulled my pants above my knees."
                                                                    "Around September 2022, I had to go back to medical for a third x-ray
                                                                    appointment with the same female technician. The technician once again asked
                                                                    me to remove my pants and undergarments. I informed the technician that I was
                                                                    not wearing any underwear and requested a blanket to cover myself. The
                                                                    technician responded that she did not care..."
ECF 10-31, M.S.     Reporting                                   5-6 "I reported these incidents to Special Investigative Services (SIS) and the
                                                                    Department of Justice via email. I was interviewed by Lieutenant Putnam on or
                                                                    around June 26, 2022. Lieutenant Putnam said he would follow up about the
                                                                    issue, but I never heard anything from him or SIS." "Shortly after I met with
                                                                    Lieutenant Putnam, I developed a sinus infection, and I put in a “sick call,” or
                                                                    request for a medical appointment. The medical unit ignored my sick call. I put in
                                                                    five more sick calls. Medical staff, Mr. Parks, told me that if I filed another sick
                                                                    call, they would move me to the end of the waiting list...I felt like I was being
                                                                    punished for reporting the incidents with the medical technician."
ECF 10-31, M.S.     Reporting                                    14 "When incarcerated persons report sexual assault and abuse by staff, FCI Dublin
                                                                    and BOP do not seriously investigate the reports. Investigations are frequently
                                                                    delayed and overseen by staff who know and work with the offending staff
                                                                    member. Generally nothing happens as a result. I reported my experiences with
                                                                    the medical technician in June and did not hear anything from prison staff for
                                                                    nearly six months. Lieutenant Putnam only followed up with me after I contacted
                                                                    an attorney, and he claimed that I had never filed a report to begin with."
ECF 10-31, M.S.     Reporting                                    10 "Lieutenant Putnam called me into the chapel for the meeting. He had read my
                                                                    message to Attorney Beaty and he had written notes about it on
                                                                    his notepad; he read the message out loud to me and asked me: “What did you
                                                                    mean by this?” He told me “I know who Susan is, what did you tell her?” I felt
                                                                    extremely intimidated and uncomfortable."
ECF 10-21, M.R.     Medical care                                 14 "When I was placed in the SHU [December 2022], the brace I received for my
                                                                    wrist was thrown away and I never received it again. I am anemic and have low
                                                                    iron, and they have repeatedly removed my iron supplements. I’ve gone without
                                                                    them for years at a time which made me weak."
ECF 10-28, M.M.     Retaliation                                  10 "On May 8, 2023...I was placed in the SHU after Officer Knittles falsely accused
                                                                    me of sexually soliciting him...I spent about a month in the SHU due to these false
                                                                    charges causing me immense psychological harm."
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ECF 10-28, M.M.   Mental health                            11 "[W] hile I was in the SHU the BOP doctor took me off my psychiatric medication
                                                              without any explanation. Specifically, the BOP doctor took me off my mood
                                                              stabilizer, Trileptal, which I have been on for years and I still do not have it back."
